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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

 UNITED STATES OF AMERICA                    §
                                             §
 v.                                          §   NO. 6:19-CR-56
                                             §
 PAMELA SUE HANNAN (01)                      §

                               NOTICE OF PLEA AGREEMENT

         The United States of America would show the Court that the Defendant, Pamela

 Sue Hannan, through her counsel of record, Mr. Kenneth Hawk, and the Government,

 have entered into a written plea agreement in relation to the charges now pending before

 this Court.


                                                 STEPHEN J. COX
                                                 UNITED STATES ATTORNEY


                                                 /s/ Nathaniel C. Kummerfeld
                                                 NATHANIEL C. KUMMERFELD
                                                 Assistant United States Attorney
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                                     CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing Notice of Plea Agreement has been

 served on counsel of record for defendant via ECF on this the 8th day of June, 2020.



                                                  /s/ Nathaniel C. Kummerfeld
                                                  NATHANIEL C. KUMMERFELD
                                                  Assistant United States Attorney




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